         Case 1:04-cv-01726-FMA Document 114 Filed 06/25/10 Page 1 of 1




       In The United States Court of Federal Claims
                                           No. 04-1726T

                                      (Filed: June 25, 2010)
                                           __________
 EUGENE A. FISHER,

                        Plaintiff,

         v.

 THE UNITED STATES,

                        Defendant.
                                            __________

                                             ORDER
                                            __________

        On April 21, 2010, the court granted the parties a 60-day enlargement of their
supplemental briefing schedule while plaintiff’s settlement offer was reviewed by
defendant. On June 24, 2010, the parties filed a joint motion for a further extension of
this schedule, stating that the defendant had accepted plaintiff’s settlement proposal but
that payment of the settlement amount was not anticipated until after the deadline set
forth in the Court’s April 21, 2010, order. The parties’ motion is hereby GRANTED.
Upon effectuation of the settlement, the parties shall file the appropriate notice with the
court.

       IT IS SO ORDERED.


                                                              s/ Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
